       Case 3:21-cv-08458-LB Document 105-1 Filed 01/17/24 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9    NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10
11 BRYON JACKSON,                                Case No. 3:21-cv-08458-LB
                                                 [Honorable District Judge, Magistrate
12                Plaintiff,                     Judge Laurel Beeler]
13         v.                                    [MOTION IN LIMINE NO. 4]
14 TARGET CORPORATION,                           [PROPOSED] ORDER GRANTING
                                                 DEFENDANTS' MOTION IN
15                Defendant.                     LIMINE TO EXCLUDE “GOLDEN
                                                 RULE” AND “REPTILE THEORY”
16                                               ARGUMENTS
17                                               Date: 2/15/2024
                                                 Time: 1:00 thp.m.
18                                               Crtrm.: B 15 Floor
19
20         After due consideration of all of the relevant pleadings, papers, and records in
21 this action; and upon such other oral and documentary evidence or argument as was
22 presented to the Court; pursuant to the Court’s inherent and statutory powers, and to
23 the Court’s authority under the Federal Rules and the applicable Local Rules of the
24 United States District Court, Eastern District of California, Good Cause appearing
25 therefore, and in furtherance of the interests of justice,
26         IT IS HEREBY ORDERED that:
27         1)    The Court hereby GRANTS the Defendant's Motion In Limine To
28 Exclude Reference To Any Other Prior Or Subsequent Incident.
   4860-8461-4558.1
                                         1                      Case No. 3:21-cv-08458-LB
       [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION IN LIMINE TO EXCLUDE “GOLDEN
                         RULE” AND “REPTILE THEORY” ARGUMENTS
        Case 3:21-cv-08458-LB Document 105-1 Filed 01/17/24 Page 2 of 2




 1            2)        Accordingly, the following matters shall hereby be excluded from
 2 evidence, and from being published to the jury or finder of fact, and from being
 3 admitted into evidence, in this matter any and all evidence, documents, records,
 4 recordings, testimony, statements, opinions based upon, argument based upon, and/or
 5 reference before the jury all evidence and argument relating to:
 6            a)        any and all prior or subsequent complaints or allegations, and any other
 7 incidents involving defendant other than the subject incident.
 8            IT IS SO ORDERED.
 9
10 Dated:
                                                        UNITED STATES DISTRICT
11
                                                        JUDGE
12
13
14
15
16
17
18
19
20 Respectfully Submitted By:
21 David V. Roth (State Bar No. 194648)
    david.roth@manningkass.com
22 Gabriella Pedone (State Bar No. 308384)
    gabriella.pedone@manningkass.com
23 MANNING & KASS
   ELLROD, RAMIREZ, TRESTER LLP
24 801 S. Figueroa St, 15th Floor
   Los Angeles, California 90017-3012
25 Telephone: (213) 624-6900
   Facsimile: (213) 624-6999
26
   Attorneys for Defendant, TARGET
27 CORPORATION
28
     4860-8461-4558.1
                                             2                    Case No. 3:21-cv-08458-LB
        [PROPOSED] ORDER GRANTING DEFENDANTS' MOTION IN LIMINE TO EXCLUDE “GOLDEN
                          RULE” AND “REPTILE THEORY” ARGUMENTS
